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Paul Malagerio (00:01):
Having fun?

James Garretson (00:19):
Five hours of that shit, dude.

Paul Malagerio (00:22):
Accomplish anything?

James Garretson (00:24):
No. But you want to hear something fun?

Paul Malagerio (00:26):
What?

James Garretson (00:31):
You know who fucking called in the middle of our fucking, my trial prep?

Paul Malagerio (00:36):
Jeff Johnson.

James Garretson (00:37):
Yes. He was on the speaker phone with all the US attorneys, the FBI, and everybody in there.

Paul Malagerio (00:43):
And what did he say?

James Garretson (00:50):
Dude... It was ringing, and I showed Amanda, the head US attorney. I showed her. I said, "Should I
answer? Or should I not?" So I answered it, click. And then they were giving little Post-it notes, and
sending them to me, and asking me what questions to ask.

Paul Malagerio (01:06):
Yeah.

James Garretson (01:07):
So Jeff Johnson is not testifying for Joe. His lawyers don't want him to.

Paul Malagerio (01:14):
Go figure.

James Garretson (01:15):



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All right. The US Marshal Service has been notified, as she says, of Jeff Johnson. So, he probably won't
even be allowed in the courtroom.

Paul Malagerio (01:27):
He might not be allowed?

James Garretson (01:28):
Yeah, because they noted the... Since he made the threats, they contacted the US Marshals Service.

Paul Malagerio (01:37):
So, what will they do?

James Garretson (01:40):
Probably arrest him if he comes into the courtroom. Probably not let him in. Oh, I don't know. But yeah,
he was talking about his Joe meeting and stuff, and all them motherfuckers were in there on
speakerphone.

Paul Malagerio (01:53):
Oh, my God. So, did they get anything good?

James Garretson (01:57):
They didn't get anything really good. They answered a lot of the questions. They were writing little Post-
it notes and sending them to me. They ask if he knows whose on Joe's witness list. And he was like "No."
So, he didn't know anything that's really pertinent for them. But he did meet with Joe's attorneys.

Paul Malagerio (02:17):
He did?

James Garretson (02:18):
Yes. And he is in contact with Joe, and he even went and seen Joe in Grady Jail.

Paul Malagerio (02:26):
Okay. So, Joe is calling witnesses, but no one knows who they are?

James Garretson (02:31):
Yes. And Doc Green. And they're about to... Doc Green is saying she's not going to testify against Joe.
And I know they had a cop talk with her, they told her they're going to put her in jail if she doesn't. So,
yeah.

Paul Malagerio (02:49):
Yeah. I don't know if that's going to work.

James Garretson (02:53):



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They're going to pick up whoever doesn't come to their subpoenas, I'm sure. I mean, they want to win it
because they just think Joe is just... They can't believe Joe is going to try it.

Paul Malagerio (03:03):
Well, that's not for certain.

James Garretson (03:07):
They still can't fathom it. But he can plead until... the jury gets a verdict, he can take a plea deal.

Paul Malagerio (03:16):
Okay. Well, you know what? It's a gambler. It's a gamble, man. That's his best shot.

James Garretson (03:20):
Yeah.

Paul Malagerio (03:22):
Work it until you know you're going to lose, and then take what you want. I mean, that's a smart move.
Arrogant, but smart.

James Garretson (03:28):
Yeah. But you can plead it up until the jury comes back with a verdict.

Paul Malagerio (03:33):
Oh, I didn't know that.

James Garretson (03:34):
Yep.

Paul Malagerio (03:34):
I figured the deal was off the table-

James Garretson (03:36):
No, I asked-

Paul Malagerio (03:36):
... once they walk in the courtroom.

James Garretson (03:38):
I asked her real clear. I said, "So, when is the cutoff for the plea?" She said, "Until the jury gives a
verdict."

Paul Malagerio (03:46):
Did she tell him that? Because that's their decision.


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James Garretson (03:50):
I'm sure. I mean, I'm sure he knows.

Paul Malagerio (03:53):
Okay. See, that makes a lot of sense. Well, Doc Green should have been arrested, and -the bullshit. And
then she'll be testifying at her own trial about Joe. I mean, they [crosstalk 00:04:10]-

James Garretson (04:09):
Yeah. I mean, reading Andy and Matt, reading them, I think more arrests are coming. I mean, I think
more arrests are coming. Because here's the deal. Remember when I told you we met at... when I met
Jeff Lowe at Applebee's and we discussed me calling Carole?

Paul Malagerio (04:28):
Yep.

James Garretson (04:28):
You know what Jeff Lowe said that meeting was about?

Paul Malagerio (04:32):
What?

James Garretson (04:33):
"He wanted me to call Carole and warn her to stay off the bike path."

Paul Malagerio (04:44):
To stay off the bike path?

James Garretson (04:44):
Yeah. He told the feds that, "He didn't want me to call and sell the park. He just wanted me to call and
warn her of the hit."

Paul Malagerio (04:53):
That Joe alone-

James Garretson (04:54):
He's just a lying... Yeah. He's a lying motherfucker, boy

Paul Malagerio (04:59):
Oh, well, he just admitted he knew about that, or spoke up.

James Garretson (05:04):
Yeah.



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Paul Malagerio (05:05):
Does that make him culpable?

James Garretson (05:06):
There's something going on, man, because they were real... Like again, they never mention his name
other than, "Well, Jeff Lowe states that he only met you at Applebee's for you to call Carole and warn
her to stay off the bike path." The only person that told me that, "They need to kill her on the bike
path," was Jeff Love.

Paul Malagerio (05:30):
Oh, they got him. Because when you called you didn't say it as "Carole, get off the bike path."

James Garretson (05:35):
Exactly. I called to fucking get a hundred grand. See my stories can't change. My shit's recorded.

Paul Malagerio (05:43):
Right.

James Garretson (05:44):
So I can't, "He said/she said" shit. My shit's on tape.

Paul Malagerio (05:50):
Okay, let me ask this question. I don't know all about this, but can they play the angle that you guys are
seriously discussing this? And then you turned to be a informant after you got the call from Fish and
Game, because you knew they were watching Carole. Did you make the deal about this before that
phone call to Carole?

James Garretson (06:12):
No.

Paul Malagerio (06:15):
Oh, okay. Do you see the issue that could be raised?

James Garretson (06:18):
That was after. It was after I called Carole, because remember, then Matt shows up at my fucking shop.

Paul Malagerio (06:25):
Okay. So, Joe's angle is he could say it was your idea, your plan, your whatever. Until you realize that the
Fish and game was watching, and then you decide to set him up. That's where the setup theory comes.

James Garretson (06:40):




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Yeah. But I mean, when you look at all the tapes of Joe, offering money to the hitman? I had to watch all
the tapes, and video clips, and all the stuff today. I mean, the jury would have to be fucking stupid to
fucking acquit him of anything.

Paul Malagerio (06:55):
Yes, but if they can try to prove that you were part of it, it was your idea, you were part of the
conspiracy until such time as Matt walked into your store and you went, "Oh, fuck. I better help these
guys out or I'm going to get arrested." They'll bring that up.

James Garretson (07:10):
Oh, yeah. But-

Paul Malagerio (07:13):
Was that discussed today?

James Garretson (07:15):
Yeah, that was discussed today. That was discussed. But you've got to think, Joe was hiring another
hitman. He already hired another hitman when he told me he was going to use mine. And he didn't tell
me anything about Glover was already hired. So, one of the murder-for-hire counts, I wasn't even there.

Paul Malagerio (07:35):
Okay, here's the question you're going to be asked at some time. "Mr. Garrison, isn't it true you only
became a witness for the Fish and Game after you found out they were investigating this thing, and they
knew about it?" And basically, you'll say "Yeah."

James Garretson (07:51):
Yeah, my answer will be "Yes."

Paul Malagerio (07:54):
Yeah.

James Garretson (07:55):
So, I mean, I'm not going to fucking lie. I'm just going to fucking tell whatever's on my fucking mind, you
know? And then, so be it. Because they were trying to trap me up today and I'm like, "No, that's not how
it was." And then they were like, "Well, they're just going to cut you off." Well, they can keep cutting me
off, but I'm going to finish talking.

Paul Malagerio (08:13):
Yep. Not allowed to.

James Garretson (08:14):
Huh?

Paul Malagerio (08:16):


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You're not allowed to.

James Garretson (08:17):
Well, she said that, "Whenever they talk over me, and cut me off? That she will redirect and have the
judge make a ruling on me explaining it."

Paul Malagerio (08:27):
Right, right.

James Garretson (08:28):
Yeah, yeah.

Paul Malagerio (08:28):
Because they've got to do that every fucking time. You see, they want to cherry pick your answers,
because they don't want you to tell the truth, and it all has to help their case out. It's a chess match
game. That's why you never say more than "yes, no," and be very vague. But if you're asked to explain
something, she understands they have to give... She's going to get you the time to do it, because the
defense guy will cut you off, and all of a sudden ask you another question, so you can't finish answering
that. And that's when a good prosecutor comes up with. They go back to original question, that you can
finish answering, so it suits their case, not his.

James Garretson (09:06):
Yeah. But there is no way Joe's going to walk. There is just no fucking way.

Paul Malagerio (09:13):
No. No. Who's he going to have for a witness? Who's you going to call? Travis?

James Garretson (09:17):
Oh, oh, oh, and the judge ruled that they can't talk about the dead husband. And they can't talk about
Carole's missing husband. There's some ruling that the judges did and they can't talk about the death of
each one of theirs.

Paul Malagerio (09:34):
Well, that has to be verbalized in court by the judge, not the prosecutor before the trial.

James Garretson (09:39):
He did. He verbalized it with a motion. And they said they'd go over it all. And that's one of the things
you can't discuss. You can't discuss Travis's death, or Carole's missing husband.

Paul Malagerio (09:54):
Oh, okay. Yeah. So who would bring that up? The defense, to discredit Joe, and the prosecution to... No,
back and forth to discredit each other?

James Garretson (10:06):


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Yeah, I mean-

Paul Malagerio (10:06):
The prosecution to discredit Joe, and defense to discredit Carole. Yeah. Okay.

James Garretson (10:10):
Yeah.

Paul Malagerio (10:10):
That makes sense.

James Garretson (10:11):
So, I think that was already a ruling. I guess a lot of rulings have already happened, like back and forth,
back and forth.

Paul Malagerio (10:18):
Yep, the Rules of Evidence.

James Garretson (10:19):
So, there's a lot of things that they can't say, and a lot of evidence that was thrown out.

Paul Malagerio (10:24):
You know what? As much as it's a pain in fucking the ass, it's going to be pretty fascinating to see how
fucking stupid, retarded it is, and how little control anybody has over this whole thing. I mean, to me?
This is going to be a circus. Man, this is going to be a series, not just a fucking movie.

James Garretson (10:44):
It's getting pretty fucking stupid, man. Because there's some pretty fucking dumb people that are going
to come testify. Brittany Peet of PETA? Why would you even put those motherfuckers... and not like
they have anything to... But, here's the deal. Up and through all this murder-for-hire stuff. Joe was
talking to Brittany Peet every day of the week. So he was ranting about fucking Jeff. He was ranting
about Carole. He was ranting about this, to Brittany Peet.

Paul Malagerio (11:16):
Yeah. Well, it's going to be hearsay if he said it, unless she recorded it too.

James Garretson (11:19):
She recorded them.

Paul Malagerio (11:22):
There you go. He said something there that they need.

James Garretson (11:27):



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Yeah. So, I mean, it's just fucking... It's like a clown... I've never seen a fucking lawyer sit there and laugh
at some of the tapes that we had. Like Alan Glover, "Did you find me some pussy yet?" You know, and I
had to read the texts, and he's asking me, "Did you find me some pussy yet? Find me some good pussy."
And they were all fucking laughing their ass off. And he's just-

Paul Malagerio (11:53):
Which was that for?

James Garretson (11:55):
Okay, so when Alan Glover was supposedly go kill Carole, I was supposed to text him and be friendly, to
find out when he was going to leave. If he was actually doing it or not. So I had to text him stuff. So, he
was asking me for hookers. He was asking me for pills, and all this other shit. It was just crazy.

Paul Malagerio (12:19):
Why was he asking you? Okay, so yeah, that's not good. Because the defense is going to say, "Well, why
was he asking you for that?" And get into your past, and shit you don't want brought up.

James Garretson (12:28):
Yeah. But I mean, you've got to think, I had to play the whole fucking role of a fucking crooked hitman.
So, you know, I had to-

Paul Malagerio (12:39):
Okay. Okay. But you never supplied him

James Garretson (12:40):
I'm playing a role, you know?

Paul Malagerio (12:40):
But you never supplied him with anything?

James Garretson (12:40):
No.

Paul Malagerio (12:43):
Okay. Here's how they're going to get you. They're going to say, "Well, Mr. Garretson, have you ever
supplied anyone else in your past with pills or with hookers?" And be very careful what you say.

James Garretson (12:52):
And I'm going to be like "Yes." Not pills, but hookers.

Paul Malagerio (12:55):
There you go. Yep. Yep. Okay, that's it. Fine. Yeah. And that takes the wind out of their sails because
they'll jump on something where someone said that, "Five years ago, you did this, you did that." And
you nullify it by saying, "Yeah, I did. Move on."

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James Garretson (13:11):
So, I'm sitting there, and when she started and I'm just like... She started asking me questions about the
'90s, and the fucking early '90s and stuff. And she's like, "Did you live at so-and-so address?" I'm like
"Fuck." "How long did you live there?" "I don't know. A couple years. Well, I know-" "No, you lived there
for three years." I'm like "Damn."

Paul Malagerio (13:36):
[crosstalk 00:13:36].

James Garretson (13:36):
And yes, they fucking dig, man. I assume they just dig. "Did you get charged with so-and-so and so on?"
"Yeah." "What was the outcome?" "Not guilty." Okay, next. And they went over my whole fucking
criminal record that I used to have.

Paul Malagerio (13:54):
And all of that stuff, the defense has, and they're going to bring it all up and ask you the same questions.
That's why she's going over it with you.

James Garretson (14:02):
Yep.

Paul Malagerio (14:02):
Everything. They might have a few things that the prosecution didn't find.

James Garretson (14:05):
Yeah, but Jeff Lowe, that's a lying motherfucker, man, because he didn't tell the feds that he wanted me
to call Carole to sell the place. He was trying to play the good guy and say that I was supposed to call
Carole for him to warn her to stay off the bike. That lying motherfucker.

Paul Malagerio (14:23):
Okay. He's caught at that lie, okay? So, it shows him being culpable. I wonder how many charges they
got against him? [crosstalk 00:14:31]-

James Garretson (14:30):
I don't know, man, but he's going to fucking lie his fucking ass off, I guarantee.

Paul Malagerio (14:38):
Okay. As soon as he puts his hand on the Bible and starts talking? They should arrest him for lying.

James Garretson (14:43):
As soon as he touches the Bible, he'll probably go up in fucking flames. What a sorry motherfucker.

Paul Malagerio (14:54):



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Okay, Jeff Johnson. You know, just think it through. I want to post something at midnight, so when
everybody wakes up Monday morning, we can just on shit on Jeff Johnson. I couldn't remember-

James Garretson (15:08):
Okay. So Jeff Johnson, one of the questions was, "How'd you get the witness list, Jeff Johnson?"
Supposably, he had somebody that was in the grand jury hearing, and they wrote all the names down.

Paul Malagerio (15:26):
Are people allowed to be in the grand jury hearing? Is that open or closed?

James Garretson (15:30):
It was closed. But he said, "That's where he got." He told me on the phone, right in front of them
motherfuckers.

Paul Malagerio (15:39):
He posted something-

James Garretson (15:40):
Because, you know as well [crosstalk 00:15:40]-

Paul Malagerio (15:40):
... about that.

James Garretson (15:40):
Yep.

Paul Malagerio (15:40):
He posted something about that on his watchdog page, saying that the witness list, where he was told
verbally. That's why a couple of names he wasn't sure of.

James Garretson (15:48):
Yeah. Man, he's a fucking idiot dude.

Paul Malagerio (15:52):
So, did he break a law there by that conversation with the grand jury and by sharing it? Is that legal?

James Garretson (16:01):
I don't know. They didn't really talk much. They were just whispering, and looking at each other, and
winking, and this and that.

Paul Malagerio (16:11):
Of course, you didn't see through that, did you?



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James Garretson (16:15):
And then, here goes Matt. Matt's over on the end of the table. And I said, "Should I answer this?" And
Matt was like, "Nah, don't answer it." And then we're talking about, I'm talking to Jeff Johnson, and he's
talking about, "Yeah, they're going to hang Matt." And I'm like, "Oh, shit." Then Matt was like, "What did
I do?" Yeah, it's going to be fucking-

Paul Malagerio (16:39):
Hold on. Jeff Johnson phones, and the lawyers in the room said, "They're going to hang Matt"?

James Garretson (16:44):
No. I said to Jeff Johnson, "What are they going to do to help Joe?" "Well, they're going to drill Matt.
And I gave him everything on Matt, all my text messages and everything."

Paul Malagerio (16:54):
Oh. Okay, Jeff Johnson is saying this on the phone in front of Matt-

James Garretson (16:57):
Yes.

Paul Malagerio (16:57):
... and all the other people?

James Garretson (16:58):
In front of all them. Yes.

Paul Malagerio (17:01):
And what was the look on Matt's face?

James Garretson (17:04):
Matt was just like... You know, he looked shocked, but I guess he had told Jeff Johnson some things
that's going to get his ass in a sling. Because when he followed me to the bathroom... Because you
know, you've got to have one of them cops take you to the bathroom, because it's so fucking high
security. So Matt had to go with me to the bathroom. He's like, "What do you think Jeff Johnson has on
me?" "I don't know."

Paul Malagerio (17:25):
Oh, boy. Matt's in trouble. Matt's got a big mouth. From day one, he was talking too many fucking
people.

James Garretson (17:30):
And Matt's boss is there. His boss was there too. Big old black dude. Yep, [inaudible 00:17:38]. But you
know, the amount of money our government wastes? Okay, so all these cops have to be... They're all
put up in a hotel, for two to three weeks, at a $100 and something a night.



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Paul Malagerio (17:50):
Yep.

James Garretson (17:50):
And they're paid extra. Extra pay.

Paul Malagerio (17:54):
And food. Per diem.

James Garretson (17:55):
And food. They get a per diem. They waste all this money on that fucking faggot Joe, when they could
have just... Fuck.

Paul Malagerio (18:04):
That's the justice system in our countries. That's the way it works.

James Garretson (18:08):
Yeah. I wonder where-

Paul Malagerio (18:08):
And you-

James Garretson (18:11):
I don't know half those names-

Paul Malagerio (18:11):
What?

James Garretson (18:11):
... on the list though. I don't know. I've never even heard of half those names on the list.

Paul Malagerio (18:17):
Well, there's other people Joe was doing business with, that no one else knew about.

James Garretson (18:20):
Yeah.

Paul Malagerio (18:21):
Like whatever you knew? You knew a lot, but you didn't know all of his stuff. And they could be going
back 10 years, to people that-

James Garretson (18:26):
Yeah.

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Paul Malagerio (18:27):
... he was doing stuff with from before. I mean, it would be interesting. So, the grand jury discussed the
witness list months ago?

James Garretson (18:37):
Well, what happens-

Paul Malagerio (18:38):
That doesn't even... No one's saying that.

James Garretson (18:39):
... at the grand jury, they have to provide proof. So, somebody was there writing all the names down
that they mentioned.

Paul Malagerio (18:47):
Wasn't that back in August or September? Before he got the-

James Garretson (18:49):
Yeah. That was a way back. That was before he got arrested.

Paul Malagerio (18:56):
That's kind of creepy. Okay. So, that's not a complete list. That could plus or minus-

James Garretson (19:01):
Oh, I'm sure it's changed.

Paul Malagerio (19:02):
Well, I know one-

James Garretson (19:03):
I know they were having problems with Doc Green.

Paul Malagerio (19:08):
Yeah, well. Has she lost her license yet?

James Garretson (19:12):
No, I don't think so. She needs to.

Paul Malagerio (19:15):
Well, I really hope you sue her. Or at least file the paperwork with the-

James Garretson (19:19):



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Oh, we're going to. We're going to, once this is settled. They should be out... they said one day that it
should be done. But they said that, "My testimony will probably go the full eight hours."

Paul Malagerio (19:31):
Yep.

James Garretson (19:31):
Because I mean, it took fucking almost six here, you know?

Paul Malagerio (19:38):
Yeah. That was only one side.

James Garretson (19:39):
It's fucking retarded, man. No, they did the double sides. One of them played defense and then one of
them played the prosecutor.

Paul Malagerio (19:49):
So, any talk about Mark Thompson?

James Garretson (19:54):
No.

Paul Malagerio (19:55):
You don't discuss other witnesses?

James Garretson (19:57):
No, they didn't discuss any names.

Paul Malagerio (19:59):
Okay.

James Garretson (20:00):
We did make some jokes about filling in his teeth, you know?

Paul Malagerio (20:04):
Everybody does. You mean his tooth?

James Garretson (20:06):
Yeah, his tooth. But that's all we really... Oh, and his tap-out. They mentioned his tap-out tattoo. I didn't
know he had a tap-out tattoo.

Paul Malagerio (20:16):
Yeah, because he's a fighter, isn't it?


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James Garretson (20:18):
That's what they called him, Mr. Tap-out. And I was like, "What's that?" "Oh, well you didn't see his new
tattoo." "No, I don't get that close. He smells real bad." They were like "Yep."

Paul Malagerio (20:26):
He fucking [crosstalk 00:20:27]. Was my name mentioned at all?

James Garretson (20:31):
Not at all. Not one fucking thing.

Paul Malagerio (20:35):
Thank you. Good. Done. All right.

James Garretson (20:36):
Zero. Done. Your name never even came up. Nothing.

Paul Malagerio (20:41):
Good. Good.

James Garretson (20:42):
They didn't know about the witness list too. And I showed her the thing he posted on the watchdog site.
And they were like, "Yeah, he's been talking to Joe. Now he's Joe's friend."

Paul Malagerio (20:56):
Okay. So, I don't understand why people on the watchdog site aren't asking him or shitting on him,
unless he's deleting those comments. And go, "Why the fuck are you supporting Joe?" It's Joe and Jeff.
That's the pages about. Like, what the fuck? It's because-

James Garretson (21:11):
Why would anybody even be talking on there if he's supporting Joe? I thought everybody on there hates
Joe.

Paul Malagerio (21:18):
Well, I mean, I haven't looked at it a few hours, but there must have been a lot of... Nobody's asked the
question. Nobody's discussed what we're we discussing right now. Like, okay, "What turned this into
pro-Joe/anti-Jeff? It's been anti-Jeff/anti-Joe," you know? But why was it anti-James and anti-Paul? Why
was it this and that? We're just bouncing around like a freaking functioning savant. What's fucking
wrong with you? You didn't get your own way?

Paul Malagerio (21:44):
Okay. But at midnight, Sunday night, we've got to shit on Jeff Johnson on that page for however long, if
it's up there. And maybe 6:00 in the morning because you know he's up posting at 2:00, because he's a
fucking drunk. And I don't mind saying it [crosstalk 00:21:57]-



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James Garretson (21:58):
I'm going to do it after I testify, though. I don't want to do it before I testify. I want to testify-

Paul Malagerio (22:02):
Can you post on that page?

James Garretson (22:04):
No. But I can add myself or whatever. Or add somebody else.

Paul Malagerio (22:10):
Okay. Let me know, because I can always ask Tom Porter... Or can the things you want to say be posted
by some other Facebook profile thing that was going to be on there? Because if it doesn't come from
you and I?

James Garretson (22:22):
Yeah. Yeah, yeah.

Paul Malagerio (22:23):
That's fine. It doesn't matter who says it, just as long as it's said.

James Garretson (22:25):
Yeah. Because I mean, like anybody on that watchdog site, they need to realize that this motherfucker is
for Joe now.

Paul Malagerio (22:34):
That's what I can't understand. Why they... yeah. I mean, what's the membership? Have the numbers
dropped for membership? I mean-

James Garretson (22:42):
I mean, he's visited Joe in jail. Come on.

Paul Malagerio (22:46):
Yep.

James Garretson (22:48):
I mean that? You're going to build a hate group on the guy, and then you're going to fucking take his
side?

Paul Malagerio (22:55):
Because he didn't get his own way.

James Garretson (22:58):



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That's just... Even they were like, "I've never seen anything this stupid in my life." I mean, even they
were like talking about this guy... and supposedly Jeff Johnson just got out of a 72-hour lockup not too
long ago.

Paul Malagerio (23:16):
Yeah. You knew that, didn't you?

James Garretson (23:17):
No. I didn't know that till they told me.

Paul Malagerio (23:20):
Something about they went to his house. I think he was suicidal, so they had him under suicide watch.

James Garretson (23:24):
No.

Paul Malagerio (23:24):
That's a few months ago... Yeah. We were in Ringling when that happened.

James Garretson (23:28):
Oh, we were?

Paul Malagerio (23:28):
They took him away for 72 hours. Yeah. I remember that. He's not stable. I forgot all about that. He's
emotionally not stable.

James Garretson (23:40):
Yeah.

Paul Malagerio (23:40):
So-

James Garretson (23:40):
They need to get that guy off the street before... They need to put him in there with Joe.

Paul Malagerio (23:45):
Well-

James Garretson (23:45):
Make them roommates.

Paul Malagerio (23:45):
No. He'll go to the room with the mattresses on the walls.


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James Garretson (23:50):
Yeah. He needs to.

Paul Malagerio (23:52):
He's got a mental issue. For his own good. Okay, that's perfect. Okay. [inaudible 00:23:57]-

James Garretson (23:57):
Yeah, I forgot it.

Paul Malagerio (24:03):
And really, when it happens-

James Garretson (24:04):
I forgot about that, that whole lock up thing.

Paul Malagerio (24:06):
Okay. Here's a quick statement. Someone goes on and posts on the watchdog thing, "Did you hear Mr.
Jeff Johnson..." You know, mention about his unstable moods, him being locked up for 72 hours. Now he
becomes Joe's friend. He's threatening federal witnesses... I don't know if you could say, "Is being tape
recorded, which has gone to the sheriff [crosstalk 00:24:26] about threatening to shoot Jeff Lowe. And
now you want to think you're going to go to walk into a courtroom? You're not a very stable person. You
should think about your family first because your wife's going to lose her job for getting you
information, and your kids are going to be going to Family Services." And just leave it. See how long that
stays up.

James Garretson (24:49):
Oh, yeah.

Paul Malagerio (24:50):
[crosstalk 00:24:50] fucking... Or you know what the best time to post that? 9:00 Monday morning,
because he won't have his phone to see it.

James Garretson (24:57):
Yeah, I don't think...

Paul Malagerio (25:01):
Right?

James Garretson (25:02):
They wanted to get-

Paul Malagerio (25:03):
[crosstalk 00:25:03]-


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James Garretson (25:05):
Yeah, because the prosecutor asked me for a picture of him, and I dug out a picture of him and gave it to
her because she says, "I don't even know if they're going to let that motherfucker in the courtroom."
Because of threats and stuff. I don't know. She said, "The US Marshals have been notified," whatever
that means.

Paul Malagerio (25:23):
Well, I mean... Okay. So, Sheriff... What's his name there? Still hasn't-

James Garretson (25:29):
Rhodes. Yeah, he's a-

Paul Malagerio (25:31):
... [crosstalk 00:25:31].

James Garretson (25:32):
... fucking [inaudible 00:25:32].

Paul Malagerio (25:32):
So, why are they not arresting him? That don't make any sense.

James Garretson (25:35):
I have no idea. Your guess is as good as mine on that. I don't even think Rhodes has any balls. Because if
Joe's been there 20 years, doing all kinds of this schemes and shit, why didn't you arrest Joe?

Paul Malagerio (25:47):
No, no. They've gone into the zoo. They took all the guns away from the staff one time. They've done
their sweeps of the place and that. It's been a thorn in his side. I don't know how long he's been the
sheriff for. They don't like him, but you know, he's not a sheriff, he's a politician. He goes by the rules.
And he hands it all to the DA. So now the DA has to decide on Jeff Johnson. Has he got a criminal record?
Is it going to be same bullshit as Joe? "Well, it's a tape." "Well, we're not sure." "Well, the guy signed
that." Yeah, the witness will sign that." "Okay." I mean, if I made that call? I'd be going back, they'd be
shipping me back to Canada in three months. It's fucking bullshit.

James Garretson (26:18):
Yeah. That's what I don't get.

Paul Malagerio (26:21):
So, 9:00 on Monday. We'll make something up. And you can't do it because your phones are whatever.
But somebody can post it, and just ask that question. And Jeff Johnson is going to be at court early, and
everybody's going to plan to meet. And they're all going to go because now they're carrying fucking... I
don't know what flag they're carrying, like the Italian Army. One day they run in one direction, one day
they run the next. And they're all going to go in that courtroom, and now they're going to be on the pro-
Joe side. So they'll be sitting with Jenn Garret. And when he checks his phone later that day? Well, he'll


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just be outed on his own page as to what a flip-flopping faggot he is. And then, what's he going to do?
Phone you?

James Garretson (27:03):
Yeah, what the fuck? I mean, that guy is really fucked up in the head, man.

Paul Malagerio (27:10):
So you don't have to be there Monday at 9:00, do you?

James Garretson (27:13):
No, I got to be there Wednesday.

Paul Malagerio (27:16):
Okay. Okay. Well, think it through. Monday morning, think if you want to post that, because you know
he won't have his phone. Everybody will see it except the assholes in the courtroom, who don't matter
anyways.

James Garretson (27:26):
Yeah.

Paul Malagerio (27:27):
But they'll be other people... How many people on his page are going to go there? Like three?

James Garretson (27:34):
I don't even know. I don't even know if that many.

Paul Malagerio (27:35):
Yeah. It should be fucking hilarious. Okay, so next he's going to team up with Jim Garrett. No, no, maybe
he can't because Jenn Garrett's pro-Lowe/anti-Joe. I forgot what side she's on this week. You've got to
laugh at this. You've just got a freaking look at it like, "Man, what a bunch of crap."

James Garretson (27:59):
They're a bunch of idiots.

Paul Malagerio (27:59):
So much crap.

James Garretson (28:01):
Just a bunch of idiots.

Paul Malagerio (28:02):
Yep. Hey, can you text me an address, or where I got to punch into my car... my phone, to drop my truck
off, to pick up the other vehicle? [crosstalk 00:28:12]-


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James Garretson (28:11):
Yeah, when I go pick it up... I'm going to go pick up the car tomorrow, so I'll figure out a place.

Paul Malagerio (28:18):
Do you know where you're going to leave it?

James Garretson (28:21):
No. I'll figure it out in the morning. When are you going to pick it up? Monday morning early?

Paul Malagerio (28:24):
Yeah. Yeah. Well, I'm planning on leaving here about 5:00 or 6:00 Monday morning. I'll be in Dallas
before noon.

James Garretson (28:29):
Oh, okay.

Paul Malagerio (28:30):
That way I can travel... drive six more hours. But where's a safe place to leave it with a key? And then,
for me to leave my truck? I mean, how does that work?

James Garretson (28:41):
Well, since I don't have to be to court, I might just... Do you want me to just meet you and the truck
back to the shop?

Paul Malagerio (28:48):
Yeah. Or even... you don't have the new location yet, do you?

James Garretson (28:54):
No. He's probably out. He tried to call me this morning when I was over there. I'm over there. But, yeah.
I mean, I can go pick it up and put it at the house.

Paul Malagerio (29:03):
I mean, if you had a key to the door... because here's what I was going to do. Bring over our little
suitcase. And I won't lie, and bring it to that address and drop it in the house, lock the door. And when
they ask me where I live? That's what I tell them.

James Garretson (29:16):
Yeah, I mean that's-

Paul Malagerio (29:17):
I didn't want that address coming up.

James Garretson (29:19):


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Yeah. I mean, but like today, nobody asked about you. I mean, so there were... I guess they can't use
that part or something? I don't know, because you weren't even mentioned. The statement wasn't even
mentioned.

Paul Malagerio (29:33):
Well, it was not really a big deal. I mean, it was not really-

James Garretson (29:39):
No, I know. But I mean, they got so many other fucking witnesses to worry about, you know?

Paul Malagerio (29:43):
Well, will there be another trial later on for Jenny [Brister 00:29:46]? And because of those texts that I
got and sent? Will that be an issue they can bring up? Because-

James Garretson (29:51):
I don't know. I don't know Jenny Brister. I don't know. She wasn't even on that witness list, so I don't
know.

Paul Malagerio (29:59):
Okay. So, you don't know what they're doing with that, if anything at all?

James Garretson (30:01):
Yeah. I don't think that witness list was half of what it's going to be. I think there's a lot more people too.

Paul Malagerio (30:11):
Yeah. Because they're changing the dates you're going. So, I know [crosstalk 00:30:14].

James Garretson (30:14):
Yeah, so they keep fitting people in. I know they had Carole Baskin's going to be in Tuesday.

Paul Malagerio (30:23):
Well, how about this? The day... they finish it and the jury sets out... Oh, they're going to call the jury in.
They can them in, in an hour, or six freaking days. Shit, I wouldn't mind being there for that, but... you'll
get a 10-minute notice that they're going to be there. So who's going to sit out and wait for that crap?
You're not going to be there for that.

James Garretson (30:47):
The one attorney-

Paul Malagerio (30:48):
Yeah, [crosstalk 00:30:48].

James Garretson (30:48):



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I guess the assistant attorney or whatever, they swear up and down there that he's not going to plead it.
That he wants the limelight. Okay.

Paul Malagerio (30:58):
Yeah, yeah.

James Garretson (30:59):
So, the attorneys are convinced that he is not going to plead at any time.

Paul Malagerio (31:03):
Good.

James Garretson (31:03):
But what he's going to do is he's just going to... If he gets found guilty? He's going to just blame a bad
judicial system.

Paul Malagerio (31:13):
There's the soap box. He's got to be standing on a soap box. Can't give it up, can he?

James Garretson (31:17):
Yeah.

Paul Malagerio (31:17):
Okay. Here's a question.

James Garretson (31:17):
I mean, look how much money he's costing the government. Just look at it.

Paul Malagerio (31:25):
Here's a question. Jury walks in, gives their verdict. Will there be another date for sentencing?

James Garretson (31:32):
Yeah. They're always is another sentencing date.

Paul Malagerio (31:35):
Okay. So, that's the day you and I can go there with our mayonnaise shirts on, and our fucking Meet the
Tiger King, and fucking bullshit, and just laugh. That's the day I want to be there, when he gets
sentenced.

James Garretson (31:45):
Yeah.

Paul Malagerio (31:45):


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That'll be worth the trip. Yeah. Yep.

James Garretson (31:47):
I just don't see how he's going to get out of anything. I mean the fucking stupidity on that guy.

Paul Malagerio (31:54):
He's not. He's an arrogant faggot. He's been an arrogant faggot since day one. Does what he wants, says
what he wants, and gets away with it. He's been getting away with shit for over 20 freaking years.

James Garretson (32:03):
Yeah.

Paul Malagerio (32:04):
And he figures he's going to get away with this too. And that's his downfall. He's not even playing this
fucking smart. He's going to say, "Let all this evidence come up, because I can plead at any time." That I
don't like. The plea deal should be off as soon as the trial starts. That's something I've never heard of
before. Deal's over soon as the trial starts, because of all the fucking prep, and work, and time wasted
with this shit.

James Garretson (32:26):
See, that's what I thought.

Paul Malagerio (32:26):
So, they're going to go through all this-

James Garretson (32:29):
But they were like-

Paul Malagerio (32:29):
They're going to through all of this for two or three weeks. And at the end of it, he's going to say, "No,
I'm going to plead." Are you kidding me? That don't make any sense whatsoever.

James Garretson (32:35):
Yeah, they said that-

Paul Malagerio (32:36):
No [crosstalk 00:32:36].

James Garretson (32:36):
They said, that's how it is. They said, "They can plea until the jury comes back with a verdict."

Paul Malagerio (32:43):
Yeah. But the prosecutor doesn't have to accept the plea.


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James Garretson (32:47):
They do whenever there's a... They do when it's on the table.

Paul Malagerio (32:53):
Yeah. But remember last time? They.... offered him eight years. He said "No," and they said, "A deal's
only good for whatever," and they pulled it?

James Garretson (32:59):
Yeah. I guess they made him a deal through trial. 15 years.

Paul Malagerio (33:04):
Okay. Well, he didn't take the eight. Got offered the 15, still wants to fight.

James Garretson (33:09):
Yep.

Paul Malagerio (33:11):
Yep. He's going to lose.

James Garretson (33:15):
Fuck it. The 15. Just take the 15 you fucking faggot.

Paul Malagerio (33:16):
You know what? He should have taken the eight.

James Garretson (33:22):
Yeah.

Paul Malagerio (33:22):
He would have been out in what? He would have been out with six, what seven years?

James Garretson (33:25):
Probably five or six. Yeah.

Paul Malagerio (33:27):
Yep. He fucked himself big time. This wouldn't be an issue now.

James Garretson (33:32):
Yep.

Paul Malagerio (33:32):
Wow, man.



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James Garretson (33:33):
I didn't know Finley had a tap-out tattoo. What a fucking moron.

Paul Malagerio (33:39):
Well, what'd they... Oh, how would they know that? Unless they stripped him, and booked him, and...
he was in for a while. How do they know about the tattoos?

James Garretson (33:46):
They just called him Mr. Tap-out. I was like, "Who's that?" "Oh, Finley. You don't see his tap-out tattoo?"
"Nope."

Paul Malagerio (33:52):
Oh, maybe it was on his ass in one of his videos. No, no, it wasn't tap-out. It said tap here.

James Garretson (34:02):
Tap here. Yeah, it said tap here. Man, that whole thing is going to be a fucking circus sideshow, though.

Paul Malagerio (34:11):
Yep.

James Garretson (34:11):
Oh, they're telling me that Eric Goode is on the side of Joe.

Paul Malagerio (34:18):
What?

James Garretson (34:19):
Yep.

Paul Malagerio (34:20):
Oh, you didn't know that, did you?

James Garretson (34:23):
No, and they asked me point blank, they said, "Did you talk to Eric Goode?" I said, "Yes, but not about
the case." Because I never talked about the case to Eric Good. So I never discussed the case with Eric
Good. So I said, "Yes, I did talk to him."

Paul Malagerio (34:37):
How did they-

James Garretson (34:37):
"I did not discuss the case."



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Paul Malagerio (34:41):
How did they know that?

James Garretson (34:42):
They had a list of people, and they asked me if I've been approached by them. And Eric Goode was
number one on the list.

Paul Malagerio (34:48):
So Joe's has been talking to Eric Goode on the phone?

James Garretson (34:51):
Yes.

Paul Malagerio (34:52):
So Eric Goode was told by Joe to call you, and talk to you, and have an interview with you-

James Garretson (34:57):
Yeah.

Paul Malagerio (34:57):
... and get you to admit things?

James Garretson (34:58):
Yes.

Paul Malagerio (35:00):
Well, Eric Goode was working for the defense all this time?

James Garretson (35:02):
Yes. But I didn't, I never discussed the case. So-

Paul Malagerio (35:07):
Wow.

James Garretson (35:09):
Yeah. You can believe that shit?

Paul Malagerio (35:13):
Well, okay. Who else has been asking to talk to you about this? I mean, this is pretty freaky, isn't it?

James Garretson (35:18):
Everybody that was on that list has asked me, actually.



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Paul Malagerio (35:22):
Everybody on the list. Holy crap. So, what's Joe got on Eric Goode that... Unless he's gay too... that he
would even think of being [crosstalk 00:35:32]-

James Garretson (35:31):
He's a queer.

Paul Malagerio (35:33):
Is he?

James Garretson (35:34):
Yeah, he's a queer. Mm-hmm (affirmative).

Paul Malagerio (35:34):
Jesus.

James Garretson (35:40):
Yeah, he likes to be poked in the ass too.

Paul Malagerio (35:42):
So, did Joe know him before this happened?

James Garretson (35:48):
Yes. He's interviewed Joe in the past and stuff. Yeah, they know each other.

Paul Malagerio (35:52):
Oh, I didn't know they had a history.

James Garretson (35:55):
Yep.

Paul Malagerio (35:56):
So that day they came and talked to you and me... I'm trying to think of what he asked me, what sort of
questions. So that had less to do with what he was actually asking about. It was more do with-

James Garretson (36:09):
Yeah. Can you believe that fucking cocksucker?

Paul Malagerio (36:12):
Literally. Wow. That boggles the mind.

James Garretson (36:18):
Mm-hmm (affirmative).

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Paul Malagerio (36:22):
Oh, okay. Hey, well what if he tried to discredit you by giving you money for an interview?

James Garretson (36:34):
He gave me cash. I'll deny up and down he gave me anything.

Paul Malagerio (36:35):
He what?

James Garretson (36:35):
He gave me cash. I'll deny up and down.

Paul Malagerio (36:38):
What'd you do with the cash? I mean, it never went to a bank, did it?

James Garretson (36:40):
No.

Paul Malagerio (36:43):
And no one saw him give it to you?

James Garretson (36:46):
No.

Paul Malagerio (36:46):
Oh, okay. All right. Man, you're going to think about that all night tonight. Like, "What the hell was his
angle?"

James Garretson (36:54):
Yeah, I already have.

Paul Malagerio (36:55):
[crosstalk 00:36:55] ask you? That's crazy.

James Garretson (36:59):
Yeah, I have.

Paul Malagerio (37:01):
That's deviously crafty.

James Garretson (37:05):
Another fact, man. They sit around and think of cock and craftiness.



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Paul Malagerio (37:10):
What was that?

James Garretson (37:12):
They're fags, man. You just sit around and plot. But yeah, he's a Joe nut-hugger.

Paul Malagerio (37:19):
So, did they say that he's been talking to Joe from jail?

James Garretson (37:23):
They said that he's a big time Joe fan. They didn't say that. Matt will just tell me if they talk to him in jail.
The other ones won't. The other ones are kind of pretty professional.

Paul Malagerio (37:36):
Yeah, okay. They don't gossip.

James Garretson (37:39):
Yeah, but they did have some good laughs when we were playing the tapes, because I was texting-

Paul Malagerio (37:46):
You had to play them the [crosstalk 00:37:46]-

James Garretson (37:46):
I text Alan Glover back, like, "What kind of pussy do you want? Black pussy? White pussy? What kind of
pussy do you want? Matt, what'd he like?" And they were just reading... I had to read the texts, and they
were just laughing their asses off.

Paul Malagerio (37:59):
Wow.

James Garretson (37:59):
Because it really is like a fucking, it's like a sitcom.

Paul Malagerio (38:09):
I still can't get over Eric Good. That just... you know?

James Garretson (38:12):
Yep.

Paul Malagerio (38:16):
Oh, but you had that conversation with him. Was it before Joe got arrested or after?

James Garretson (38:22):


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No, after. But I've never talked about the case with Eric Goode and Joe. And I've told him over and over
again, "I cannot discuss the case on camera."

Paul Malagerio (38:30):
Okay. Okay.

James Garretson (38:31):
I never discussed anything, so I'm good. But-

Paul Malagerio (38:35):
So, if he was spending that money on traveling with that crew in the Suburbans to see you to help Joe?
That was his money he was spending?

James Garretson (38:45):
Yes. How I take it? Yes. And the prosecutors were like this: "You didn't talk to this guy did you?" And I
said, "Yes, but I did not discuss the case." And they're like, oh. And so I knew he was up to no good.

Paul Malagerio (39:07):
See, now I'm trying to think back about what I discussed, and then my concern would be I get
subpoenaed by defense.

James Garretson (39:13):
No. Nah. Yeah, it was weird though.

Paul Malagerio (39:20):
Oh, man.

James Garretson (39:21):
It's like Matt didn't even bring you up. But then, that whole part of the barn conversation was out of the
conversation. So, I don't know. But it's all good.

Paul Malagerio (39:28):
Well, it wasn't there. If it wasn't discussed there? Then it's a mute issue. It's all good.

James Garretson (39:38):
Yeah. But that Eric Goode, man. I'd like to punch him in fucking his throat.

Paul Malagerio (39:43):
Well, did you sign a release for what he did videotape?

James Garretson (39:46):
Yes.



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Paul Malagerio (39:49):
So, it's his property?

James Garretson (39:51):
Yes. But I mean, I didn't talk to him and shit. And I didn't really say, I didn't say anything about Joe
because I kept telling him, "I can't talk about the case."

Paul Malagerio (39:59):
Hey, check this out. Eric Goode doesn't know about the conversation today, and that you know he's
supporting Joe. So, within the next two or three days, maybe you should have a conversation with him
and tape it?

James Garretson (40:18):
Yeah?

Paul Malagerio (40:21):
Yes. And think about the questions that you'll lead him into. You'll interrogate him good. And just say,
"Hey look, so what exactly is it that you want to discuss? Because I'm kind of concerned now. What's
going on?" Let him talk, say, "Hmm. So, what do you think Joe's going to do?" Like that "hmm." And let
him answer. You know, you talk to him for an hour, but you don't say anything. You just have questions,
and let him talk. And let him talk, and let them talk until he realizes that you know. And just say "You
know, let me get back to you on that." And then just keep that in your back pocket. You might need it.

James Garretson (40:53):
Well, Eric Goode claims he has a tape of Carole Baskin's ex-boyfriend talking about murder of Don or
fucking Don Lewis. And I told you about that, right?

Paul Malagerio (41:08):
No, I don't think-

James Garretson (41:10):
So, what I could do is I could record him saying that, and then I'll send that to Howard Baskin.

Paul Malagerio (41:21):
Bit of a [crosstalk 00:41:22].

James Garretson (41:22):
That'll start a shit storm.

Paul Malagerio (41:28):
But you'll send that after you see what use they can be in the future.

James Garretson (41:36):



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Yeah.

Paul Malagerio (41:36):
Yeah.

James Garretson (41:36):
And just to spend that much money on fucking that trial is just fucking ridiculous.

Paul Malagerio (41:43):
Yes. This is millions of dollars. Millions of dollars-

James Garretson (41:45):
Millions.

Paul Malagerio (41:46):
Millions of fucking dollars.

James Garretson (41:46):
Millions of dollars, and fucking work, to arrest and fucking lockup a faggot.

Paul Malagerio (41:54):
Well, that's the justice system. Let me call you back in an hour or so, okay?

James Garretson (41:58):
All right, bye.




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